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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

3

FELICIA MARTIN
Plaintiff ei
Vs. Civil Case No.: 1:1 1-cv-01069-ABJ
* Judge Amy Berman Jackson
DISTRICT OF COLUMBIA, et al
Defendant ¥
* * * * * * * * * * * * ae

AFFIDAVIT OF SERVICE- CHARLES BRODSKY
Jacqueline Dantzler, being duly sworn, deposes and says:

hs I am over the age of eighteen (18) and am not a party to this action and reside in, Bowie,
Maryland.

Zn On the 14th day of June, 2011, at approximately _ 10:13 a.m., | personally served
the Defendant Charles Brodsky, at Superior Court, 500 Indiana Ave., N.W., Courtroom C10,
Washington, D.C. 20001, a copy of the following Documents:

SUMMONS- PROFESSIONAL CAPACITY
COMPLAINT AND mT, nd b PRAYER

CIVIL COVERSHEET, Exhjorts AY

a Mr. Brodsky’s description is:
Color: White Sex: Male Age 44-47 (Estimated)

I declare under penalty of perjury under the laws of the District of Columbia that the
foregoing is true and correct.

Respectfully Submitted,

a

acqueline Dantz]
13017 MidSummer Lane
Bowie, Maryland 20715
410-533-5548
Cost for Service: $0.00

 

 
